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IN THE UNITED STATES DISTRICT COURT FOR
THE EASTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA
v. CRIMINAL NO. 17-51
THOMAS E. HUGHSTED o
.LUDGMENT AND PRELIMINARY ORDER OF FORFEITURE
IT IS HEREBY ORDERED THAT:

1. As a result of the defendant’s guilty plea to Counts One through Three of the
Indictment, charging receipt of child pornography, in violation of 18 U.S.C. § 2252(a)(2) (Count
One), distribution of child pornography, in violation of 18 U.S.C. § 2252(a)(2) (Count Two) and
possession of child pomography, in violation of 18 U.S.C. § 2252(a)(4)(B) (Count Three), for
which the government Sought forfeiture pursuant to 18 U.S.C. § 2253, the defendant hereby
forfeits to the United States all right, title and interest in any property, real or personal, used or
intended to be used to commit or to promote the commission of said violations.

2. The Court has determined, based on the facts set forth at the change of plea
hearing and those set forth in the executed plea agreement, and the record as a whole, that the
following specific property is subject to forfeiture as a result of the defendant’s guilty plea to the
illegal acts alleged in Counts One through Three of the Indictment and that the government has
established the requisite nexus between such property and such offenses:

a) one (1) LG LS675 cell phone;
b) one (1) HTC Evo cell phone;

c) one (1) HP Laptop, with serial number 5CD2216H96

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as property, real or personal, that was used or was intended to be used to commit or to promote
the commission of the aforesaid violations (hereinafter referred to as the “Subject Property”).

3. Upon the entry of this Order, the United States is authorized to seize the Subject
Property, described at paragraph 2 above, and to dispose of the Subject Property in accordance
with Fed.R.Crim.P. 32.2(b)(3).

4. The Attomey General, or a designee, pursuant to Fed.R.Crim.P. 32.2(b)(3), is
authorized to conduct any discovery necessary to identify, locate, or dispose of property subject
to this Order.

5. Pursuant to 21 U.S.C. § 853(n)(1), and Rule G(4) of the Supplemental Rules for
Admiralty or Maritime Claims and Asset Forfeiture Actions, made applicable pursuant to
Fed.R.Crim.P. 32.2(b)(6)(c), the United States Government shall put notice on an official
internet government forfeiture site for 30 consecutive days, notice of the govemment’s intent to
dispose of the Subject Property in such manner as the Attomey General may direct, and notice
that any person, other than the defendant, having or claiming a legal interest in any of the
property subject to this Order must file a petition with the Court within thirty (30) days of the
final publication of notice or of receipt of actual notice, whichever is earlier.

This notice shall state that the petition shall be for a hearing to adjudicate the validity of
the petitioner’s alleged interest in the Subject Property, shall be signed by the petitioner under
penalty of perjury, and shall set forth the nature and extent of the petitioner’s right, title or
interest in each of the forfeited properties and any additional facts supporting the petitioner’s
claim, and the relief sought.

6. The United States shall also, pursuant to 21 U.S.C. § 853(n)(1), to the extent

practicable, provide direct written notice to any person known to have alleged an interest in the

 

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property that is subject to the Judgment and Preliminary Order of Forfeiture, and to their
attomey, if they are represented, as a substitute for published notice as to those persons so
notified.

7. Any person, other than defendant, asserting a legal interest in the Subject Property
may, within thirty days of the final publication of notice or receipt of notice, whichever is earlier,
petition the court for a hearing without a jury to adjudicate the validity of his alleged interest in
the Subject Property, and for an amendment of the order of forfeiture, pursuant to 21 U.S.C.

§ 853(n)(6).

8. Pursuant to Fed.R.Crim.P. 32.2(b)(4), this Preliminary Order of Forfeiture shall
become final as to the defendant at the time of sentencing and shall be made part of the sentence
and included in the judgment. See United States v. Bennett, 423 F.3d. 271 (3rd Cir. 2005)(t0 be
effective, a forfeiture order must be included in sentence and judgment).

9. Following the disposition of any petition filed under Fed.R.Crim.P. 32.2(0)(1)(A)
and before a hearing on the petition, discovery may be conducted in accordance with the Federal
Rule of Civil Procedure upon showing that such discovery is necessary or desirable to resolve
factual issues.

10. The United States shall have clear title to the Subject Property following the
Court’s disposition of all third-party interests.

11. The Court shall retain jurisdiction to enforce this Order, and to amend it as

necessary, pursuant to Fed.R.Crim.P. 32.2(e).

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12. The Clerk of the United States District Court for the Eastern District of
Pennsylvania shall deliver a copy of this Judgment and Preliminary Order of Forfeiture to the

Federal Bureau of Investigation (“FBI”); and to counsel for the parties.

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Judge, United States District Court

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